Case: 1:19-cr-00277 Document #: 54 Filed: 05/20/20 Page 1 of 8 PageID #:184




                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

   UNITED STATES OF AMERICA                        )
                                                   )
   Plaintiff,                                      )
                                                   )
   vs                                              )     Case No. 19 CR 277
                                                   )
   CONCEPCION MALINEK,                             )     Judge Edmund Chang
                                                   )
   Defendant.                                      )

                       DEFENDANT’S REPLY BRIEF IN SUPPORT OF
                         HER MOTION TO REVOKE DETENTION

          NOW COMES the defendant, CONCEPCION MALINEK, by and through her

   attorney, ROBERT L. RASCIA, and submits her Reply Brief in Support of Her Motion to

   Revoke Detention. In support thereof the defendant states as follows:

          I.      DE NOVO REVIEW OF ORDER OF DETENTION

          On March 29, 2019, more than a year ago, a detention hearing was held in this cause.

   At the hearing the Government asserted that the defendant was a flight risk and a danger to the

   community. The Court agreed with these assertions and ordered the defendant to be detained.

   The defendant has now filed a motion to revoke this detention order under 18 U.S.C. §3145.

   The defendant’s motion requests a de novo review, but also cites new circumstances which

   were not presented to Magistrate Judge Jeffery Cole during the initial hearing. See United

   States v. Torres, 929 F.2d 291, 292 (7th Cir. 1991), providing that the District Court is

   permitted to entertain de novo review of the original detention order in this context.




                                                  -1-
Case: 1:19-cr-00277 Document #: 54 Filed: 05/20/20 Page 2 of 8 PageID #:185


              II.           THE DEFENDANT IS NOT A FLIGHT RISK

              The defendant is a naturalized United States Citizen who has chosen to reside in the

   United States since 2005. She is married to a United States Citizen, who is an employee of the

   United States Federal Government, and has financially supported her since she suffered a

   recent leg injury. Ms. Malinek is also a homeowner who has resided in her marital home with

   her husband in the Northern District of Illinois since 2008. In light of these substantial ties to

   this jurisdiction, the sole meaningful basis for determining that the defendant is a flight risk is

   the fact that she is a native of Guatemala, and that some of her close family members still

   reside there.1 The defendant has clearly demonstrated her intention to reside here within the

   Northern District of Illinois. She has purchased a marital residence here, and she has offered to

   pledge her equity in that residence as security for her release. The mere opportunity to flee is

   not enough to justify detention. Chen, 820 F. Supp. at 1208. The defendant has demonstrated

   that she has long term family and financial plans to reside here in the United States. This past

   behavior demonstrates that Ms. Malinek has no desire to leave the jurisdiction, and even if she

   was tempted to flee (which she is not) then her offer to pledge her marital residence as security

   for her release would be sufficient to dissuade her from acting on that temptation. Ms. Malinek

   is fully aware that her home would be subject to forfeiture to the government if she fails to

   appear in court or otherwise comply with the conditions of release. Her strong incentive to

   maintain this financial asset will motivate her to appear in court when she is directed and

   comply with the conditions of her bond. Conversely, the fear of losing this valuable asset

   would discourage her from ignoring her obligations to this Court.



   1
    It is noteworthy that defendant’s purported ties to Guatemala are substantially diminished
   now that her mother has died and her father is a hospital patient in the United States. As a
   result of this misfortune Ms. Malinek now has fewer close family members in Guatemala than
   she did at the time of her original detention hearing.
                                                   -2-
Case: 1:19-cr-00277 Document #: 54 Filed: 05/20/20 Page 3 of 8 PageID #:186


              III.    THE DEFENDANT IS NOT A DANGER TO THE COMMUNITY

          The defendant is 50 years old and she has no criminal history of prior involvement

   with law enforcement. This means that the underlying criminal conduct alleged in this case is

   the only basis to infer that she is a danger to the community. The defendant acknowledges that

   she is charged with a serious offense, but the charges at this stage are merely an accusation.

   18 U.S.C. §3142(j). The defendant has pled not guilty and she is preparing to proceed to trial.

          The nature and seriousness of the charged offense is only one factor to be considered

   under the Bail Reform Act. 18 U.S.C. §3142(a)(1). In every case the weight of the evidence

   against a defendant will be the "least important of the various factors" United States v.

   Hammond, 204 F. Supp. 2d 1157, 1165 (E.D. Wis. 2002), citing United States v. Chen, 820 F.

   Supp. 1205 (N.D. Cal. 1992) (quoting United States v. Motamedi, 767 F. 2d 1403, 1408 (9th

   Cir. 1985). This is particularly true here in this case, where it is especially precarious to infer

   dangerousness from the underlying criminal allegations against Ms. Malinek, because the

   government has advanced a novel legal theory that is dependent upon witnesses with an

   obvious bias and motive to lie, which implicates legitimate doubts about her guilt at trial.

          The defendant is charged with coercing labor from consenting adults (with the

   exception of one minor teenager who was supervised by her father and was very near legal

   working-age). Each of them voluntarily agreed to immigrate to the United States and reside at

   the defendant’s home with the expectation that they would financially compensate her for the

   expenses that she incurred in arranging for their travel and providing them with room and

   board. These payments owed to the defendant were always calculated in direct proportion to

   the benefits that were received by each houseguest i.e. the length of their stay and the cost of

   the basic necessities and other amenities that they received. At trial the defendant will certainly

   dispute the assertion that it is illegal to require a houseguest to financially contribute toward

                                                    -3-
Case: 1:19-cr-00277 Document #: 54 Filed: 05/20/20 Page 4 of 8 PageID #:187


   their own room and board. The defendant did not use any violence, physical force, or threats of

   violence or force to compel anyone to work for her, or to pay their outstanding debts to her, or

   to continue residing at her home. 2 Each of the defendant’s houseguests voluntarily agreed to

   enter into this arrangement and they voluntarily remained at her home without anyone

   preventing them from leaving. There has been no indication that any of the defendant’s

   houseguests were especially vulnerable to exploitation by way of cognitive deficits or physical

   disabilities.

           Rather, the Government will instead attempt to show that the defendant used her

   capacity as an immigration sponsor to exploit her victims’ fears of a legitimate legal process,

   the possibility of deportation from the United States back to Guatemala, in order to coerce

   them into working for her.3 This allegation will inevitably straddle a very fine line between

   prohibited criminal activity and perfectly lawful conduct (i.e. warning a houseguest about the

   potential ramifications of absconding from her home while entrusted to her supervision).

   Thus it will require a highly fact-intensive inquiry at trial. In order to substantiate this

   allegation the Government will rely upon witnesses who undoubtedly have clear bias and

   motive to falsely implicate the defendant in furtherance of their own self-interest, by either

   fabricating or exaggerating her conduct. Specifically, the witnesses have already received


   2
    The government has suggested that relatives of the defendant in Guatemala have expressed
   displeasure with the ‘victims’ for testifying against Ms. Malinek. Even if this were true, and
   even if such statements could fairly be interpreted as a threat, they cannot be fairly attributed to
   the defendant. As an incarcerated detainee in the United States she does not have the ability to
   arrange for the harassment and intimidation of witnesses in Guatemala without being detected,
   nor does she have the ability to discourage or prevent such harassment if it is indeed occurring.
   3
    The government alleges that the defendant leveraged her supervisory role as an immigration
   sponsor for the ‘victims’ in order to coerce them into engaging in labor for her benefit. Even if
   this allegation were true (which it is not) then it is not reasonable to suggest that Ms. Malinek
   would have the capability to resume this criminal behavior again if she is granted pretrial
   release, because there is no potential likelihood that the immigration authorities would permit
   her to serve as an immigration sponsor again in the future.
                                                    -4-
Case: 1:19-cr-00277 Document #: 54 Filed: 05/20/20 Page 5 of 8 PageID #:188


   immigration benefits from the government in exchange for their cooperation and testimony,

   and they expect to continue receiving these benefits in the future if they help to obtain a

   criminal conviction against her in this case.

          Moreover, even if she was a danger to the community, a defendant cannot be detained

   as dangerous under §3142(e) unless a finding is made that no release conditions "will

   reasonably assure... the safety of the community..." Dominguez, 783 F. 2d at 706-707 (internal

   quotation omitted). The statute requires the Government to prove by clear and convincing

   evidence that no condition or set of conditions will ensure the safety of the community. United

   States v. Chimurenga, 760 F. 2d 400 (2nd Cir. 1985); United States v. Portes, 786 F. 2d 758

   (7th Cir. 1985). The defendant and her husband have offered to pledge their home as security

   for the defendant’s release. This will be more than sufficient to assure that the defendant will

   not engage in any conduct that might jeopardize her interest in the property.

          IV.     NEW CIRCUMSTANCES JUSTIFY PRETRIAL RELEASE

          The new and unexpected outbreak of the COVID-19 global pandemic, which could not

   have been anticipated by the defendant or her counsel at the time that the defendant was

   previously ordered to be detained, has now caused significant difficulty for Ms. Malinek. She

   is experiencing significant anxiety for her health because she has several risk factors which

   would make her susceptible to complications from COVID-19 (most notably she is overweight

   and she suffers from diabetes). This anxiety is exacerbated because Ms. Malinek is not able to

   properly socially distance herself from her fellow inmates.

          Ms. Malinek is also experiencing tremendous mental-anguish as a result of the recent

   death of her mother from COVID-19, as well as the corresponding hospitalization and drastic

   medical decline of her father ( also due to COVID-19 as well). If Ms. Malinek is granted

   pretrial release, it would allow her to attend the upcoming memorial service that is scheduled

                                                   -5-
Case: 1:19-cr-00277 Document #: 54 Filed: 05/20/20 Page 6 of 8 PageID #:189


   for her mother on May 27, 2020, and it would also allow her to attend any funeral or memorial

   services for her father that may become necessary in the future if he does not survive his

   current illness.

           Pretrial release is also justified to allow for the defendant to better prepare for trial with

   her attorney. The COVID-19 pandemic has made attorney-client consultations more difficult

   than they were at the time that the original detention order was issued. The defendant is housed

   at the Livingston County Jail and she requires the assistance of a Spanish-language interpreter.

   The defendant and her counsel are now beginning the difficult task of finalizing her strategy

   and preparations for trial. It would help to facilitate these preparations if Ms. Malinek is

   permitted to meet with her attorney at his office.

           V.         TEMPORARY FURLOUGH OR ESCORTED TRIP

           As an alternative prayer for relief, if Ms. Malinek is not granted pretrial release, then

   she requests a temporary furlough or escorted trip to attend the memorial service for her

   mother, and any funeral or memorial service which may ultimately become necessary for her

   father, pursuant to 28 CFR §551.109(a)&(b).

           VI.        CONCLUSION

           For all of the reasons mentioned herein, the defendant asserts that pretrial release is

   appropriate. The ultimate standard for the Court remains one of "reasonable assurance” that the

   defendant will appear for trial and will not endanger the community. Reasonable assurance,

   however, should not be mistaken for absolute assurance. Detention cannot be ordered merely

   because there are no conditions that would guarantee the defendant’s appearance at trial.

   Portes, 786 F. 2d at 764 n.7 (7th Cir. 1985) ("The conditions need not guarantee appearance

   but must reasonably assure appearance.") (citing United States v. Orta, 760 F.2d 887, 891-892

   (8th Cir. 1985).

                                                    -6-
Case: 1:19-cr-00277 Document #: 54 Filed: 05/20/20 Page 7 of 8 PageID #:190


           The defendant and her husband have offered to pledge their marital home as security

   for her release. The possible loss of this property constitutes substantial assurance that the

   defendant will not flee and she will comply with her bond. The additional proposed conditions,

   of home confinement and location monitoring, are available and sufficient to alleviate any

   further concerns.

           WHEREFORE the defendant respectfully requests for this Honorable Court to grant

   her pretrial release during the remaining pendency of her case, or, as an alternative prayer for

   relief, that she be granted a temporary furlough or escorted trip to attend the memorial service

   for her mother and any funeral or memorial service that may ultimately become necessary for

   her father.

                                          Respectfully Submitted,

                                          S/Robert L. Rascia/May 20, 2020
                                          ROBERT L. RASCIA, ARDC No. 6184470
                                          Attorney for the Defendant
                                          The Law Offices of
                                          Robert Louis Rascia, Ltd
                                          650 N. Dearborn/Suite 700
                                          Chicago, IL 60654
                                          312-994-9100 Office
                                          312-994-9105 Fax
                                          rrascia@rasciadefense.com; Email




                                                   -7-
Case: 1:19-cr-00277 Document #: 54 Filed: 05/20/20 Page 8 of 8 PageID #:191


                                 CERTIFICATE OF SERVICE

           I, ROBERT RASCIA, deposes and states that, on this 20th day of May, 2020,
   I have served notice of the foregoing to Assistant United States Attorney Christopher Parente,
   via ELECTRONIC FILING.

                                        s/Robert L. Rascia/May 20, 2020
                                        ROBERT L. RASCIA, ARDC No. 6184470
                                        Attorney for the Defendant

                                        The Law Offices of
                                        Robert Louis Rascia, Ltd
                                        650 N. Dearborn/Suite 700
                                        Chicago, IL 60654
                                        312-994-9100 Office
                                        312-994-9105 Fax
                                        rrascia@rasciadefense.com; Email




                                                 -8-
